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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 BUZZFEED, INC., et al.,                   )
                                           )
                           Plaintiffs,     )
                                           )
         v.                                ) Civ. A. No. 17-0900 (ABJ)
                                           )
 U.S. DEPARTMENT OF JUSTICE,               )
                                           )
                           Defendant.      )
                                           )
 ________________________________________ )

                                  DEFENDANT’S SUR-REPLY

       Pursuant to the Court’s December 21, 2017 Minute Order, Defendant hereby provides

this sur-reply addressing the Plaintiffs’ untimely response (ECF No. 17-1) to the material facts

proposed by Defendant with its dispositive motion on September 14, 2017.

       The Court should disregard the untimely response by Plaintiffs because they have not

proffered “excusable neglect” for the untimely filing. See Smith v. District of Columbia, 430

F.3d 450, 456-57, n.5 (D.C. Cir. 2005).

       In any event, Plaintiffs have not satisfactorily identified that there is a material fact in

dispute that would preclude summary judgment for Defendant. Defendant will address the

paragraphs of Plaintiffs’ Updated Response To Defendant’s Statement Of Material Facts Not In

Dispute (ECF No. 17-1) in turn:

              1) No response is required as Plaintiffs have adopted the facts set forth in

       paragraphs 1-9, 12, 17, 27, and 49 and do not dispute any of the matters therein.

              2) Defendant disputes the assertion set forth in paragraph 2 of Plaintiffs’ response,

       as it is not adequately supported by the evidence cited in Plaintiffs’ response. The FBI

       has never publicly confirmed nor denied ownership of the aircraft identified in Plaintiffs’
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FOIA request and, as a matter of policy, the FBI does not publicly acknowledge specific

aircraft used in aerial surveillance. See Hardy Declaration Paragraph 13; Second Hardy

Declaration, ¶¶ 6-7. Plaintiffs have failed to properly support the conclusions that they

draw from the cited exhibits.

       3) Defendant disputes the assertion set forth in paragraph 3 of Plaintiffs’ response

as it is not adequately supported by the evidence cited in Plaintiffs’ response. Although

the FBI has confirmed its use of aerial surveillance, it does not publicly disclose details

on its use because doing so could interfere with pending investigations. Additionally, the

exhibit cited by Plaintiffs related to a one-time national event in which the Baltimore

Police Department requested federal assistance. The FBI’s aerial surveillance was

initiated by the Baltimore Police Department’s request for assistance as opposed to aerial

surveillance performed in furtherance of covert operations. See Hardy Declaration, ¶ 19;

Second Hardy Declaration, ¶¶ 8, 11. Plaintiffs have failed to properly support the

conclusions that they draw from the cited exhibit.

       4) Defendant disputes the assertion set forth in paragraph 4 of Plaintiffs’ response,

as it is not adequately supported by the evidence cited in Plaintiffs’ response. The FBI

has not released specific information regarding tail numbers or the flight and evidence

logs associated with specific aircraft. See Hardy Declaration, ¶ 19; Second Hardy

Declaration, ¶¶ 6, 11. Defendant asserts that aircraft tail numbers and other information

associating flight and evidence logs with specific aircraft have been redacted in the

exhibit cited by Plaintiffs. Plaintiffs have failed to properly support the conclusions that

they draw from the cited exhibit.



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       5) Defendant disputes the assertion set forth in paragraph 5 of Plaintiffs’ response

as it is not adequately supported by the evidence cited in Plaintiffs’ response. Although

the FBI’s use of aerial surveillance is well-known, the specific details regarding its

aircraft and the circumstances in which they are employed (such how, where, and under

what conditions they are deployed) is not generally known. See Hardy Declaration, ¶ 22;

Second Hardy Declaration, ¶¶ 6-13. Plaintiffs have failed to properly support the

conclusions that they draw from the cited exhibits.

       6) Defendant disputes the assertion set forth in paragraph 6 of Plaintiffs’ response

as it is not adequately supported by the evidence cited in Plaintiffs’ response. The FBI

has never publicly confirmed or denied ownership of the aircraft identified in Plaintiffs’

FOIA request and, as a matter of policy, the FBI does not publicly acknowledge specific

aircraft used in aerial surveillance. See Hardy Declaration, ¶ 22; Second Hardy

Declaration, ¶¶ 6, 7, 10, 12. Plaintiffs have failed to properly support the conclusions

that they draw from the cited exhibit.

       7) Defendant disputes the assertion set forth in paragraph 7 of Plaintiffs’ response

that paragraphs 10-11, 14-16, 18-26, 30-38, 41-48, and 50-54 of Defendant’s Statement

of Material Facts are legal arguments and conclusions rather than not material

facts. Despite filing an Updated Response to Defendant’s Statement of Material Facts

Not in Dispute, Plaintiffs have again provided no citations to any evidence to contradict

Defendant’s assertions. Where Defendant has properly outlined and supported facts in

the case, Plaintiffs must proffer evidence to the contrary on a material issue. They have

not.



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       For these reasons and those previously presented, Defendant asks that the Court grant its

dispositive motion and deny Plaintiffs’ Cross-Motion For Summary Judgment.

                                     Respectfully submitted,


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                                     United States Attorney

                                     DANIEL F. VAN HORN, DC Bar #924092
                                     Chief, Civil Division


                               By:                                  /s/
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that service of the foregoing Unopposed Motion For Leave To

File Sur-Reply, And Memorandum In Support Thereof, and a proposed Order has been made

through the Court’s electronic transmission facilities on this 20th day of December, 2017.




                                                                           /s/
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